Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 1 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 2 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 3 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 4 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 5 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 6 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 7 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 8 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 9 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 10 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 11 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 12 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 13 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 14 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 15 of 16
Case 1:09-cv-02123-DME-MEH Document 1-1 Filed 09/04/09 USDC Colorado Page 16 of 16
